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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA

                     Plaintiff,                                   8:11CR335

       vs.
                                                      ORDER TO WITHDRAW EXHIBITS
EFRAIN ROBLED0-SANCHEZ,

                     Defendant.


       Pursuant to NECrimR 55.1(g), counsel for defendant shall either 1) withdraw the
following exhibits previously submitted in this matter within 14 calendar days of the date
of this order, or 2) show cause why the exhibits should not be destroyed:


              Exhibit No. 1 from Change of Plea Hearing Held 2/8/2012


       If counsel fails to withdraw these exhibits as directed or to show cause why the
exhibits should not be destroyed, the clerk’s office is directed to destroy the listed
exhibits without further notice to the parties or order from the court.
       IT IS SO ORDERED.
       Dated this 6th day of June, 2012.

                                                   BY THE COURT:
                                                   s/ Joseph F. Bataillon
                                                   United States District Judge
